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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LEVI STRAUSS & CO.,                                 )
                                                    )   Case No. 18-cv-01258
                        Plaintiff,                  )
                                                    )   Judge Manish S. Shah
       v.                                           )
                                                    )   Magistrate Judge Young B. Kim
2017SHARP, et al.,                                  )
                                                    )
                        Defendants.                 )
                                                    )

                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on April 18, 2018 [38], in favor

of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in Schedule A

in the amount of two hundred thousand dollars ($200,000) per Defaulting Defendant for willful

use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

           Defendant Name                                            Line No.
        MKASS Lovers Clothes Store                                      38

       THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant are hereby acknowledged, and the Clerk of the Court is hereby authorized and

directed to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 23rd day of August 2019.   Respectfully submitted,



                                      /s/ RiKaleigh___________________
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